           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                         ORDER
                          )
                          )
R. MICHAEL GEE.           )
                          )



      THIS MATTER is before the Court on Defendant Gee’s Appeal from

and Objections to the Magistrate Judge’s Order Denying his Motion to

Sever [Doc. 166], filed February 11, 2009.

      By Order entered February 10, 2009, Magistrate Judge David

Keesler ruled that Counts 28 through 34 of the Fourth Superseding Bill of

Indictment be severed from the remaining charges but that Defendant

Michael Gee’s (Gee) motion to sever his trial from that of his co-defendants

be denied.1 [Doc. 163]. Defendant Gee objects to that ruling.


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         The severed counts charge Defendant Victoria L. Sprouse (Sprouse) with
perjury and obstruction of justice and do not name Defendants Gee or Michael Pahutski
(Pahutski).

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                         STANDARD OF REVIEW

      Federal Rule of Criminal Procedure 59(a) provides in pertinent part:

      A district judge may refer to a magistrate judge for determination
      any matter that does not dispose of a charge or defense. The
      magistrate judge must promptly conduct the required proceedings
      and, when appropriate, enter on the record an oral or written
      order stating the determination. A party may serve and file
      objections to the order within 10 days after being served with a
      copy of a written order[.] The district judge must consider timely
      objections and modify or set aside any part of the order that is
      contrary to law or clearly erroneous.

Fed.R.Crim.P. 59(a); accord, 28 U.S.C. §636(b)(1)(A) (“A judge of the

court may reconsider any pretrial matter ... where it has been shown that

the magistrate judge’s order is clearly erroneous or contrary to law.”).



                         PROCEDURAL HISTORY

      The first indictment in this case, filed August 29, 2007, charged one

defendant, Pahutski, with three charges: conspiracy to commit wire, bank

and mail fraud; conspiracy to money launder; and money laundering. [Doc.

3]. On November 16, 2007, the Government filed a Superseding Bill of

Indictment adding Sprouse as a co-defendant in the conspiracy counts and

also adding substantive counts of mail fraud, money laundering, perjury

and obstruction of justice against her. [Doc. 10]. Three new charges of


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making false statements to a bank were added as to Pahutski. [Id.].

      On March 20, 2008, the Government filed its Second Superseding

Bill of Indictment which named new defendants, including Gee, and added

additional charges. [Doc. 27]. In that version of the indictment, the

Government included three counts of perjury and three counts of

obstruction of justice against Sprouse. [Id.]. Gee was named as a

defendant in Count 1, conspiracy to commit wire, mail and bank fraud;

Counts 6, 7, & 8, bank fraud; and Counts 12, 15, & 18, making false

statements to banks.

      On August 12, 2008, the Government filed a Third Superseding Bill

of Indictment. [Doc. 88]. In that indictment, the names of three co-

defendants, Springs, Mascaro and Rankin, were removed because they

had entered into plea agreements with the Government and entered guilty

pleas.

      On November 6, 2008, the Government filed its Fourth Superseding

Bill of Indictment. [Doc. 117]. Gee is named as a defendant in Count 1, the

mail, wire and bank fraud conspiracy; Counts 8, 9, 10, & 11, bank fraud;

and Counts 15, 17, 19, & 21, making false statements to banks. This

version also contains four counts of perjury and three counts of obstruction


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of justice against Sprouse. [Id.]. On October 15, 2008, Gee moved to

sever his trial from that of his co-defendants. [Doc. 100].

      The Magistrate Judge ruled that the perjury and obstruction of justice

counts naming only Sprouse should be severed. By Order entered

simultaneously herewith, the undersigned has affirmed that ruling and

Counts 28 through 34 have been severed from the trial of the other counts.

      The Magistrate Judge denied Gee’s motion to sever his trial from that

of his co-defendants. Gee seeks reconsideration of that ruling.



                               BACKGROUND

      The charges in this case stem from mortgage fraud schemes

allegedly engaged in by an attorney (Sprouse), a mortgage broker

(Pahutski), real estate investors, a real estate appraiser (Gee), builders

and companies (among others) to defraud banks lending money in

connection with real estate transactions. The alleged schemes took place

from 2000 through 2004 and involved numerous unindicted and indicted

co-conspirators. According to the Government, the “centerpiece of the

Indictment is the Flip Scheme alleged in Counts One through Twenty-

Seven against defendants Gee, Sprouse and Pahutski” involving fraudulent


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mortgages on about 214 residences in Charlotte, North Carolina between

January 2001 and September 2002. [Doc. 165, at 2].

      The current version of the indictment alleges that the mortgage fraud

was accomplished in three different manners. The Decorator

Disbursement Scheme was the first scheme chronologically. It is the

subject of Count 35 which charges a mail, wire and bank fraud conspiracy

involving Sprouse and unindicted co-conspirators, such as attorneys, real

estate agents, builders, companies and investors. The indictment

described this scheme as follows: real estate was purchased by an

investor from a builder who agreed to return a portion of the purchase price

to the investor disguised as a decorator allowance allegedly paid to a third-

party decorator. [Doc. 117, at 1]. This conspiracy operated from January

2000 through January 2001. [Id.]. Due to the fact that the indictment

alleges conduct by unindicted co-conspirators in this scheme, only

Sprouse is named as the defendant in Count 35. The Flip Scheme began

the same month that the Decorator Disbursement Scheme ended, January

2001. [Doc. 117, at 1]. Thus, there is an overlap of time between this

conspiracy and the Flip Scheme conspiracy. 2

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       In response to Gee’s motion, the Government has acknowledged that discovery
shows that Gee performed appraisals in connection with refinances of some of the

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      The Flip Scheme is the subject of Count 1 which charges another

mail, wire and bank fraud conspiracy involving Sprouse, Gee and Pahutski.

The indictment describes this scheme as follows: real estate was

purchased and then resold to buyers at a much higher price by using

simultaneous closings arranged by an attorney, Sprouse, involved with the

scheme. [Id.]. Gee is alleged to have provided false appraisals as part of

the scheme and Pahutski served as the mortgage broker for the deals. [Id.,

at 4]. This conspiracy operated from January 2001 through September

2002. This conspiracy also involved unindicted co-conspirators, such as

mortgage brokers, appraisers, and investors. In addition to the conspiracy

charge, Gee, Sprouse and Pahutski are charged variously in Counts 2

through 27 with other substantive charges such as bank and mail fraud,

money laundering, conspiracy to money launder and making false

statements to banks. Each of these substantive charges arises from

conduct which occurred during and in connection with the conspiracy.



properties involved in this scheme. [Doc. 122 at 2]. Because the Government did not
make a pre-trial proffer of evidence by requesting a hearing, the Court looks to the
allegations of the indictment alone. United States v. Cardwell, 433 F.3d 378, 385 (4th
Cir. 2005), certiorari denied 547 U.S. 1061, 126 S.Ct. 1669, 164 L.Ed.2d 408 (2006).
The Fourth Circuit has not determined whether in such a situation it would be
appropriate to consider a proffer within the pleadings. Id., at n.1.


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      The third form of mortgage fraud, known as the Primary Residence

Scheme, is charged in Count 36 as conspiracy to commit mail, wire and

bank fraud. The indictment describes this scheme as follows: builders

would sell real estate to investors who would falsely state on mortgage

applications that the property was being used as the primary residence of

the buyer. Again, Sprouse was the attorney who handled the closings.

The indictment alleges that this scheme began as early as May 2002 with

the first mortgage application being submitted in August 2002 and the first

closing in connection with the scheme occurring in September 2002.3 [Doc.

117, at 42-45]. The indictment alleges that money earned from the Flip

Scheme was laundered by placing it in the Primary Residence Scheme.

[Id., at 22-25]. Although Sprouse is the only defendant named in this

count, her co-defendants Mascaro, Rankin and Springs, who were involved

with this conspiracy, have already entered guilty pleas. This count also

names other unindicted co-conspirators who were builders, companies,

attorneys, mortgage brokers, and real estate agents. This conspiracy

operated from May 2002 through February 2004 and thus also overlaps the



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       Again, the Court looks to the allegations of the indictment, not the arguments
made by the parties in their briefs. Cardwell,433 F.3d at 385.

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Flip Scheme conspiracy which continued through September 2002.4

Counts 37 and 38 involve substantive charges of bank fraud and money

laundering conspiracy against Sprouse. There are, however, unindicted

co-conspirators named in these counts as well as co-defendants Mascaro

and Springs.

      Counts 28 through 31 concern Sprouse’s testimony as a defendant

during a civil trial in January and February of 2007. Southstar Funding,

L.L.C. v. Sprouse, 3:05cv253. These counts charge Sprouse with perjury

as a result of answers provided during that trial. Count 32 charges

Sprouse with obstruction of justice by concealing evidence during that trial.

      In Counts 33 and 34, it is alleged that during the investigation of this

criminal case, the grand jury subpoenaed documents from Sprouse’s law

firm which she removed and/or destroyed. As a result, she is charged with

obstruction of justice in connection with the grand jury subpoenas.

      None of the conduct in Counts 28 through 34 involved other co-

defendants or unindicted co-conspirators. As previously noted, the

undersigned has severed Counts 28 through 34 from the trial of this action.


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       Gee argues that the Government has conceded this scheme did not begin until
September 2002 after the Flip Scheme ended. The indictment alleges that it began in
May 2002 and as noted infra, the Court looks to the indictment.

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As a result, these charges, which involved only Defendant Sprouse and did

not implicate any conduct by other defendants or unindicted co-

conspirators, are no longer part of the case.



                               DISCUSSION

      Defendant Gee claims that, pursuant to Federal Rule of Criminal

Procedure 8(b), he has been improperly joined as a defendant with

Sprouse and Pahutski and, alternatively, that if properly joined, he should

be severed pursuant to Federal Rule of Criminal Procedure 14.

      Rule 8(b) provides that an indictment may charge two or more

defendants “if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions, constituting an

offense or offenses.” Gee does not argue that his joinder for trial in Count

1 with Sprouse and Pahutski is improper. United States v. Reavis, 48 F.3d

763, 767 (4th Cir. 1995), certiorari denied 515 U.S. 1151, 115 S.Ct. 2597,

132 L.Ed.2d 844 (1995) (defendants charged in the same conspiracy

should be tried together). His argument is devoted to the purported

misjoinder of Counts 35 and 36 with Count 1 which he describes as

follows: “A problem arises, where, as here, two defendants are charged


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together in some counts, and one of the defendants [Sprouse] is also

charged in additional counts involving very different evidence than the

counts alleged against both defendants.” [Doc. 166, at 5]. Thus, the issue

is whether the three defendants, Sprouse, Gee and Pahutski, participated

in the same act or transaction, or the same series of acts or transactions in

connection with Counts 35 and 36. Gee concedes that they did so in

connection with Count 1. [Id.].

      [The Fourth Circuit has] previously defined the level of
      relatedness required to satisfy Rule 8(b)’s requirements.
      “Separate acts constituting separate offenses are sufficiently
      related to be within the same series if they arise out of a common
      plan or scheme.” “There must be a series of acts unified by some
      substantial identity of facts or participants.” “[The Circuit has]
      defined ‘transaction’ flexibly, as ‘implying a connection or logical
      relationship rather than immediateness.’”

United States v. Haney, 914 F.2d 602, 606 (4th Cir. 1990) (citations

omitted). The phrase “series of acts or transactions” logically includes

transactions “so interconnected in time, place and manner as to constitute

a common scheme or plan.” United States v. Santoni, 585 F.2d 667, 673

(4th Cir. 1979), certiorari denied sub nom Santoni v. United States, 440

U.S. 910, 99 S.Ct. 1221, 59 L.Ed.2d 459 (1979) (citations omitted).

“Where the defendants’ acts are part of a series of acts or transactions, it

is not necessary that each defendant be charged in each count, nor to

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show that each defendant participated in every act or transaction in the

series.” Id.

      This case involves three conspiracies to defraud lending institutions

in connection with real estate transactions as well as substantive crimes

arising out of those conspiracies. [Doc. 117, at ¶¶51(A), 105(A),113(A)].

Although each alleged conspiracy used a different “scam” (the decorator

allowance, the flip and the false primary residence document), to carry out

the fraud, each used materially false mortgage documents to obtain money

from lending institutions and thus, defrauded those institutions. [Doc. 117,

at ¶¶51(B) - (H) (in connection with the flip scheme, false mortgage

applications, false documentation in support of applications, false

settlement statements, false appraisals, false title opinions, false deeds);

105(B) - (F) (in connection with the decorator allowance scheme, false

mortgage applications, false settlement statements, false downpayments,

false decorator allowances, improper disbursement of checks prior to

deposit); 113(B) - (F) (in connection with the primary residence scheme,

false mortgage applications, false settlement statements, false

downpayments, false deeds of trust). As such, the criminal acts of Gee,

Sprouse and Pahutski are “‘unified by some substantial identity of facts or


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participants,’ [and] ‘arise out of a common plan or scheme.’” United States

v. Rittweger, 524 F.3d 171, 177 (2nd Cir. 2008) (citation omitted) (defendant

properly joined with two other defendants where indictment charged two

conspiracies which shared one common participant and a common plan).

Nor does Rule 8(b) provide that two defendants participating in two distinct

conspiracies may not be joined. Id.; United States v. Liveoak, 377 F.3d

859, 864 (8th Cir. 2004) (“Though charges linked merely by common

conspiracy members may not be joined, the charges here are linked not

only by common conspiracy members, but also by an overall scheme in

which each conspiracy member participated to fraudulently charge the

government for health care costs.”); United States v. Marzano, 160 F.3d

399, 401 (7th Cir. 1998), certiorari denied 525 U.S. 1171, 119 S.Ct. 1095,

143 L.Ed.2d 95 (1999) (although the “simplest case for joinder is where the

defendants are charged with having conspired with each other,” different

conspiracies involving different defendants may be joined when they are

part of the same series of illegal acts”).

      Accordingly, whether the joinder of defendants in two
      conspiracies is warranted must be determined on a case-by-case
      basis. Provided that the defendants are “alleged to have
      participated in the same act or transaction, or in the same series
      of acts or transactions, constituting an offense or offenses,”
      members of two or more conspiracies may be joined as

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     defendants even where the members have not been charged as
     participating in one overarching conspiracy.

Rittweger, 524 F.3d at 178. Here, the series of acts and transactions

involved defrauding lending institutions through real estate transactions

and each scheme had the same ultimate goal. United States v. Feyrer,

333 F.3d 110 (2nd Cir. 2003) (although neither party was charged in the

conspiracy counts of the other, participants had common plan to generate

income through fraudulent stock transactions); United States v. Johnston,

547 F.2d 282 (5th Cir. 1977), certiorari denied 431 U.S. 942, 97 S.Ct. 2660,

53 L.Ed.2d 261 (1977).

     Moreover, the counts at issue involve Sprouse as the common co-

conspirator as well as other common actors, including co-defendants who

have pled guilty and unindicted co-conspirators, all of whom shared the

same goal of defrauding lending institutions. United States v. Lagos, 912

F.2d 464 **3 (4th Cir.1990), certiorari denied 498 U.S. 1048, 111 S.Ct. 757,

112 L.Ed.2d 776 (1991). Although Gee makes a weak argument that he is

a minor participant compared to Sprouse, Gee is charged in the central

conspiracy count as well as the substantive counts arising out of it. United

States v. Williams,   F.3d     2009 WL 173865 (7th Cir. 2009). When

defendants are charged with crimes that “well up” out of the same series of

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acts, they need not be the same crimes. Id.

     Moreover, according to the indictment, the conspiracies overlapped

in time. Santoni, 585 F.3d 667. The Decorator Disbursement Scheme is

alleged to have overlapped for at least a month with the Flip Scheme. The

Flip Scheme overlapped with the Primary Residence Scheme for a period

of months. United States v. Warner, 498 F.3d 666, 699 (7th Cir. 2007),

certiorari denied 128 S.Ct. 2500, 171 L.Ed.2d 786 (2008) (defendants

charged with crimes that “well up out of the same series of” acts are

properly joined even if not charged with the same crimes). The

conspiracies flowed one into the next as the schemes altered just enough

to avoid detection. United States v. Lock, 2008 WL 906141 (E.D.Wis.

2008) (indictment alleged unified, interrelated schemes to defraud lenders

using false and fraudulent documents all part of an overall mortgage fraud

scheme). Moreover, it appears that each scheme was used to launder

money generated from the earlier schemes and that the proceeds of the

earlier scheme were used, at least in part, to establish the next scheme.

Santoni, 585 F.3d at 673. (series of acts necessary to success of previous

acts and thus defendants properly joined); United States v. Wirsing, 719

F.2d 859, 863 (6th Cir. 1983). As a result, the same underlying facts are


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necessary to prove each claim. For these reasons the Court rejects Gee’s

argument that he has been misjoined with Sprouse and Pahutski in the

Fourth Superseding Bill of Indictment.

      Gee’s alternative argument is that even if joinder is proper, it is so

prejudicial as to warrant severance from his co-defendants. He makes the

following arguments in support of that claim: (1) the evidence regarding the

two other schemes will involve different defendants and unindicted co-

conspirators; (2) the evidence involves different acts; (3) those acts

occurred during different time periods; (4) different documents were

involved; (5) the conduct will be proved by different witnesses; and (6)

evidence of the other crimes would not be admissible against him in a

separate trial.

      Federal Rule of Criminal Procedure 14 provides that if the joinder of

defendants in an indictment appears to prejudice a defendant, the court

may sever the defendants’ trials. “The party seeking severance bears the

burden of demonstrating ‘a strong showing of prejudice’.” United States v.

Branch, 537 F.3d 328, 341 (4th Cir. 2008). That “strong showing” is made

only where a defendant is able to show that “a specific trial right” would be

violated or that the jury would be unable to make a reliable judgment about


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guilt or innocence. Zafiro v. United States, 506 U.S. 534, 539, 113 S.Ct.

933, 122 L.Ed.2d 317 (1993).

      It has long been the rule that, “[b]arring special circumstances,
      individuals indicted together should be tried together.” The mere
      fact that the charge to be tried is one of conspiracy provides no
      exception to this general precept. On the contrary, the joint-trial
      “presumption is especially strong in conspiracy cases.” The
      existence of “special circumstances” is rare, indeed; “a district
      court should grant a severance under Rule 14 only if there is a
      serious risk that a joint trial would compromise a specific trial right
      of one of the defendants, or prevent the jury from making a
      reliable judgment about guilt or innocence.”

United States v. Davis, 270 Fed.Appx. 236, 244 (4th Cir. 2008), certiorari

denied sub nom Davis v. United States, 129 S.Ct. 306, 172 L.Ed.2d 223

(2008) (citations omitted).

      Gee claims that the sheer amount of evidence against his co-

defendants, specifically Sprouse, will be prejudicial. There is, however, no

general right to a severance because the evidence against a co-defendant

is purportedly stronger. United States v. Strickland, 245 F.3d 368, 384 (4th

Cir. 2001), certiorari denied sub nom Strickland v. United States, 534 U.S.

894, 122 S.Ct. 213, 151 L.Ed.2d 152 (2001).

      Gee also states that evidence of different schemes occurring at

different times and carried out by different means is prejudicial.

Nonetheless, “any prejudice resulting from a single trial on multiple counts

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can be cured by other, less restrictive means than severance.” United

States v. Mir, 525 F.3d 351, 357 (4th Cir. 2008). Courts routinely instruct

juries that they must consider each defendant, each count and the

evidence related to it separately and in this Circuit, they are presumed to

follow those instructions. Cardwell, 433 F.3d at 388 (district court correctly

instructed jury that a separate crime was charged in each count of the

indictment and each count as well as the evidence pertaining to it should

be considered separately). Moreover, other jury instructions as well as the

verdict sheet advise and instruct the jury on the means by which to

separate defendants and counts of the indictment. Mir, 525 F.3d at 358

(limiting instructions, curing instructions, redactions, and limitations on

testimony all suffice to prevent prejudice).

      Gee also argues that evidence related to Counts 35 and 36 would

not be admissible against him in a separate trial, thus establishing

prejudice. As noted above, juries follow instructions to consider the

evidence against each defendant separately. However, “[w]hen offenses

are joined under Rule 8 on the ground that they ‘are based on the same

act or transaction or on two or more acts or transactions connected

together or constituting parts of a common scheme or plan,’ it is manifest


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that evidence of one offense would ordinarily be admissible at a separate

trial for the other.” United States v. West, 90 Fed.Appx. 683, 688-89 (4th

Cir.2004), certiorari denied sub nom West v. United States, 543 U.S. 888,

125 S.Ct. 164, 160 L.Ed.2d 148 (2004) (citation omitted). Moreover,

“[n]either a mere allegation that defendant would have a better chance of

acquittal in a separate trial, nor a complaint of the ‘spillover effect’ from the

evidence that was overwhelming or more damaging against the co-

defendant than that against the moving party is sufficient to warrant

severance.” United States v. Thompson, 518 F.3d 832, 863 (10th Cir.

2008) (citation omitted); United States v. Goldman, 750 F.2d 1221, 1225

(4th Cir. 1984) (“it is not enough to simply show that joinder makes for a

more difficult defense”).

      In this case, the facts related to each scheme and therefore to each

count all flow from a common, unified plan to defraud lending institutions.

Some of the evidence will overlap; some of the participants will overlap. To

force the Government to try Counts 35 and 36 separately from Counts 1

through 27 would result in judicial inefficiency. Rittweger, 524 F.3d at 177

(courts should “apply a ‘common sense rule’ to decide whether, in light of

the factual overlap among charges, joint proceedings would produce


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sufficient efficiencies such that joinder is proper notwithstanding the

possibility of prejudice to either or [all] of the defendants resulting from the

joinder.”) (citation omitted).

      In deciding whether to grant a Rule 14 motion, the district court is
      given broad discretion in weighing the inconvenience and
      expense to the government and witnesses in conducting separate
      trials against the prejudice to the defendants caused by a joint
      trial. Because joint participants in a scheme often will point the
      finger at each other to deflect guilt from themselves or will attempt
      to lessen the importance of their role, a certain amount of conflict
      among defendants is inherent in most multi-defendant trials. In
      order to justify a severance, however, joined defendants must
      show that the conflict is of such magnitude that “the jury will
      unjustifiably infer that this conflict alone demonstrates that [all] are
      guilty.”

United States v. Smith, 44 F.3d 1259, 1266-67 (4th Cir. 1995), certiorari

denied sub nom Smith v. United States, 514 U.S. 1113, 115 S.Ct. 1970,

131 L.Ed.2d 859 (1995). Gee has not made such a showing. For these

reasons the Court finds that Defendant Gee has failed to show prejudice

that would result from a failure to sever, and the Court, in its discretion,

determines that severance is not warranted.

      Gee’s remaining arguments in favor of severance relate to Counts 28

through 34 which have been severed from this case for trial. As a result,

those arguments are moot.



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                                ORDER

     IT IS, THEREFORE, ORDERED that Defendant Gee’s Appeal [Doc.

166] from the Magistrate’s Order [Doc. 163] is hereby DISMISSED, and the

Government’s Objections to that Order are hereby OVERRULED, and the

Motion to Sever of Defendant Gee [Doc. 100] is hereby DENIED.



                                    Signed: February 18, 2009




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